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           EXHIBIT 3
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                With Pierce Chief On Leave, New Suit Claims Funding
                Antics
                By Aebra Coe

                Law360 (March 10, 2020, 6:56 PM EDT) -- Pierce Bainbridge founder John Pierce was slapped with a
                lawsuit Monday claiming he "grossly exaggerated" the value of a rights of publicity case to drum up
                litigation funding and recruit attorneys, a case that dropped the same day the firm reportedly revealed
                Pierce had been placed on leave for unrelated, alleged financial misdeeds.

                The lawsuit was filed in Pennsylvania federal court against Pierce, Pierce Bainbridge Beck Price & Hecht
                LLP and the firm's other name partners, accusing them of illegally interfering with a contract after
                Pierce took over ex-NFL player and former pro wrestler Lenwood Hamilton's likeness lawsuit against
                Microsoft Studios Inc. and Epic Games Inc. over the alleged use of his likeness in the Gears of War
                video game franchise.

                The suit was filed by Hamilton's former attorney Bruce Chasan the same day a spokeswoman for
                Pierce Bainbridge told The American Lawyer magazine that Pierce was on a leave of absence after an
                internal investigation determined he had accepted money from a business cash advance lender, Karish
                Kapital LLC, for his personal use.

                In Pierce's absence, the law firm has named partner Tom Warren as its acting managing partner, The
                American Lawyer said.

                Members of Pierce Bainbridge's leadership team, as well as John Pierce, did not respond to requests
                for comment Tuesday. No further information was immediately available on the allegations that Pierce
                improperly received money from Karish Kapital.

                In addition to the litigation brought by Chasan, Pierce and the law firm are also facing litigation
                brought by Donald Lewis, a former partner at the firm who says he was forced out under false
                pretenses after confronting Pierce about wide-ranging financial misconduct, including related to the
                Hamilton case. Pierce Bainbridge filed its own lawsuit in Los Angeles accusing Lewis of obstructing a
                firm investigation into allegations he sexually assaulted an employee. The Los Angeles suit was
                dismissed in December on jurisdictional grounds.

                The lawsuit filed by Chasan is part of an ongoing fight between him and Pierce over their mutual
                representation of Hamilton in the Gears of War suit.

                According to the complaint, Hamilton hired Chasan to represent him in December 2016 to bring the
                litigation. After he'd performed more than a year's worth of work on the matter, Hamilton dropped
                Chasan and hired Pierce in March 2018, the complaint says.

                Chasan says he informed Pierce at the time of the transition that the client owed him $320,000 in fees
                and that it was Pierce's responsibility to make sure that he received the money. Pierce eventually
                responded that he did not owe Chasan anything and was not bound by any contract.

                "To Chasan, Pierce's statement that his firm didn't have the money to pay the attorney's fees of BJC
                Law was inconsistent with his representation that the firm would fund $400,000 to $500,000 in
                litigation expenses to bring Hamilton's case to trial," the complaint says.


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                Chasan says that he later learned that Pierce had secured funding for the case from Pravati Capital, a
                litigation finance company, by stating that Hamilton's claims were worth as much as $1 billion.
                According to Chasan, those claims were "grossly exaggerated" and were used to secure money used
                to pay the firm's attorneys and recruit others.

                A judge in the Hamilton case granted the defendants' request for summary judgment in September
                2019.

                Chasan alleges that he and Pierce went on to reach a settlement with regard to the attorney fee in
                which Pierce would pay Chasan $160,000, but Pierce backed out. Chasan has attempted to enforce
                that agreement via the courts, but was ultimately unsuccessful and filed the new lawsuit accusing
                Pierce and his name partners of tortious interference with contract on Monday.

                "This whole mess could have been avoided if [Pierce] had honored the settlement, but he was frankly
                hellbent on being a jerk and there was nothing I could do to stop him," Chasan told Law360 on
                Tuesday.

                Pravati Capital, which is also named in Chasan's lawsuit, did not respond to a request for comment
                Tuesday.

                Bruce J. Chasan and the Law Offices of Bruce J. Chasan LLC are represented by Bruce J. Chasan and
                by Clifford E. Haines of Haines & Associates PC.

                Counsel information for the defendants was not immediately available.

                The case is Law Offices of Bruce J. Chasan LLC et al. v. Pierce Bainbridge Beck Price & Hecht LLP et al.,
                case number 2020-cv-1338, in the U.S. District Court for the Eastern District of Pennsylvania.

                --Additional reporting by Emma Cueto and Ryan Boysen. Editing by Jay Jackson Jr.

                Clarification: This article has been updated to clarify the nature of litigation between Donald Lewis and
                Pierce Bainbridge.




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